












NUMBER 13-06-00360-CR


COURT OF APPEALS


THIRTEENTH DISTRICT OF TEXAS


CORPUS CHRISTI - EDINBURG 

                                                                                                                      


PRESENTACION RODRIGUEZ, III, 			  		 Appellant,


v.


THE STATE OF TEXAS,						           Appellee.

                                                                                                                      


On appeal from the 36th District Court of San Patricio County, Texas.

                                                                                                                      


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Benavides and Vela


Memorandum Opinion by Chief Justice Valdez



	Appellant, Presentacion Rodriguez, appeals the revocation of his community
supervision.  On September 16, 2005, appellant pleaded guilty to the offense of
aggravated sexual assault.  See Tex. Pen. Code Ann. § 22.021 (Vernon Supp. 2006).  The
trial court deferred the adjudication of appellant's guilt and placed appellant on community
supervision for a period of five years.  On May 3, 2006, the State filed a motion to revoke. 
Following an evidentiary hearing, the trial court revoked appellant's community supervision
and sentenced him to fifteen years' confinement in the Institutional Division of the Texas
Department of Criminal Justice.  Agreeing with appointed counsel's conclusion the record
fails to show an arguable basis on appeal, we affirm the judgment and grant counsel's
motion to withdraw.  

I.  Compliance with Anders v. California

	Appellant's court-appointed counsel filed an Anders brief in which he has concluded
that there is nothing that merits review on direct appeal.  Anders v. California, 386 U.S.
738, 744 (1967).  Appellant's brief meets the requirements of Anders.  Id. at 744-45; see
High v. State, 573 S.W.2d 807, 812 (Tex. Crim. App. [Panel Op.] 1978).  In compliance
with Anders, counsel presented a professional evaluation of the record and referred this
Court to what, in his opinion, are all issues which might arguably support an appeal.  See
Anders, 386 U.S. at 744; Currie v. State, 516 S.W.2d 684, 684 (Tex. Crim. App. 1974); see
also High, 573 S.W.2d at 812.  Counsel informed this Court that: (1) he had diligently read
and reviewed the record and the circumstances of appellant's conviction; (2) he believes
that there are no arguable grounds to be advanced on appeal; and (3) he forwarded to
appellant a copy of the brief filed in support of his motion to withdraw with a letter informing
appellant of his right to review the record and to file a pro se brief.  See Anders, 386 U.S.
at 744-45; see also Stafford v. State, 813 S.W.2d 503, 509 (Tex. Crim. App. 1991); High,
573 S.W.2d at 813.  

II.  Independent Review

	The United States Supreme Court advised appellate courts that upon receiving a
"frivolous appeal" brief, they must conduct "a full examination of all the proceedings to
decide whether the case is wholly frivolous."  Penson v. Ohio, 488 U.S. 75, 80 (1988); see
Ybarra v. State, 93 S.W.3d 922, 926 (Tex. App.-Corpus Christi 2003, no pet.). 
Accordingly, we have carefully reviewed the record and have found nothing that would
arguably support an appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826 (Tex. Crim. App.
2005); Stafford, 813 S.W.2d at 509.  We agree with counsel that the appeal is wholly
frivolous and without merit.  See Bledsoe, 178 S.W.3d at 827-28 ("Due to the nature of
Anders briefs, by indicating in the opinion that it considered the issues raised in the briefs
and reviewed the record for reversible error but found none, the court of appeals met the
requirements of Texas Rule of Appellate Procedure 47.1.").  Accordingly, we affirm the
judgment of the trial court.  

III.  Motion to Withdraw

	An appellate court may grant counsel's motion to withdraw in connection with an
Anders brief.  Moore v. State, 466 S.W.2d 289, 291 n.1 (Tex. Crim. App. 1971); Stafford,
813 S.W.2d at 511 (noting that Anders brief should be filed with request to withdraw from
case).  We grant counsel's motion to withdraw.  We order counsel to advise appellant
promptly of the disposition of the case and the availability of discretionary review.  See Ex
parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997) (per curiam).  


					                                                             

					ROGELIO VALDEZ

					Chief Justice



Do not publish.				

Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and filed 

this the 9th day of August, 2007.


